             Case: 1:24-cv-01027-JPC Doc #: 106-2 Filed: 04/04/25 1 of 1. PageID #: 3648


Gillespie, Ryan

From:                                  Sean L Harrington <sean@seanharringtonlaw.com>
Sent:                                  Sunday, March 9, 2025 11:37 AM
To:                                    jbruckman@freeborn.com; Dunlap, Jeffrey; lflagg@beneschlaw.com; Gillespie, Ryan;
                                       rhepp@beneschlaw.com; jkoechley@sgrlaw.com; Linehan, Matthew;
                                       spearson@sgrlaw.com; Pollack, Larry; Saltz, Ashtyn; rzimmerman@beneschlaw.com
Subject:                               Re: CBIZ, Inc. et al. v. Cryan et al.




Dear Counselors:

In the above-captioned cause, Mark Lanterman falsely testified, among other things, “I graduated from Upsala College with both a
Bachelor of Science and a Master’s degree in computer science. I completed my post graduate work in cybersecurity at Harvard
University.” Document 18-2.

These statements are false, and it appears that Plaintiff’s counsel didn’t perform sufficient due diligence. Mr. Lanterman did not
complete any “Postgraduate work in cybersecurity at Harvard University,” and my investigation has revealed that he did not earn the
degrees. See https://seanharringtonlaw.com/wp-content/uploads/2025/03/2025-03_deepfakeexperts_.pdf

Another computer forensics fraud was convicted of and sentenced to 21 months under 18 U.S.C. § 1621(2) (perjury) for identical
conduct —but on a much smaller scale than Lanterman. See United States v. James Earl Edmiston, No. 06-cr-0035, U.S. Court for the
Eastern District of California.

You have an affirmative obligation to call this to the attention of Judge Calabrese. I also respectfully exhort you to refer this matter to
the U.S. Attorney’s office for investigation.

Sean L. Harrington, J.D.
CIPP/US, MCSE, CSOXP, CISSP, CHFI, CCFP

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